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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                       §
In re:                                                 §        Chapter 11
                                                       §
CORE SCIENTIFIC, INC., et al.,                         §        Case No. 22-90341 (DRJ)
                                                       §
                    Debtors.1                          §        (Jointly Administered)
                                                       §

                              APPLICATION OF DEBTORS FOR
                           AUTHORITY TO RETAIN AND EMPLOY
                       WEIL, GOTSHAL & MANGES LLP AS ATTORNEYS
                       FOR DEBTORS EFFECTIVE AS OF PETITION DATE

     IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND IN WRITING.
     UNLESS OTHERWISE DIRECTED BY THE COURT, YOU MUST FILE YOUR
     RESPONSE ELECTRONICALLY AT HTTPS://ECF.TXSB.USCOURTS.GOV/ WITHIN
     TWENTY-ONE DAYS FROM THE DATE THIS MOTION WAS FILED. IF YOU DO NOT
     HAVE ELECTRONIC FILING PRIVILEGES, YOU MUST FILE A WRITTEN
     OBJECTION THAT IS ACTUALLY RECEIVED BY THE CLERK WITHIN TWENTY-
     ONE DAYS FROM THE DATE YOU WERE SERVED WITH THIS PLEADING. YOU
     MUST SERVE A COPY OF YOUR RESPONSE ON THE PERSON WHO SENT YOU THE
     NOTICE; OTHERWISE, THE COURT MAY TREAT THE PLEADING AS UNOPPOSED
     AND GRANT THE RELIEF REQUESTED.

                    Core Scientific, Inc. and its debtor affiliates in the above-captioned chapter 11

cases, as debtors and debtors in possession (collectively, the “Debtors”), respectfully represent as

follows in support of this application (the “Application”):




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific Acquired
    Mining LLC (N/A); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core Scientific Specialty
    Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard Capital LLC (6677);
    RADAR LLC (5106); American Property Acquisitions I, LLC (9717); and American Property Acquisitions, VII,
    LLC (3198). The Debtors’ corporate headquarters and service address is 210 Barton Springs Road, Suite 300,
    Austin, Texas 78704.
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                                                    Background

                   1.       On December 21, 2022 (the “Petition Date”), the Debtors each commenced

with this Court a voluntary case under chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”). The Debtors are authorized to continue to operate their business and

manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. The Debtors’ chapter 11 cases are being jointly administered for procedural

purposes only pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), and Rule 1015-1 of the Bankruptcy Local Rules for the United States

Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Local Rules”).

                   2.       No trustee, examiner, or statutory committee of creditors has been

appointed in these chapter 11 cases.

                   3.       Additional information regarding the Debtors’ business and capital

structure and the circumstances leading to the commencement of these chapter 11 cases is set forth

in the Declaration of Michael Bros in Support of the Debtors’ Chapter 11 Petitions (Docket No. 5)

(the “First Day Declaration”).2

                                                    Jurisdiction

                   4.       The Court has jurisdiction to consider this matter pursuant to

28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.




2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the First
    Day Declaration.




                                                           2
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                                          Relief Requested

                5.      By this Application, pursuant to sections 327(a), 328(a), 329, and 504 of the

Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016(b), and Bankruptcy Local Rules 2014-1

and 2016-1, the Debtors request entry of an Order (i) authorizing the retention and employment of

Weil, Gotshal & Manges LLP (“Weil” or the “Firm”) as attorneys for the Debtors effective as of

the Petition Date and (ii) granting related relief.

                6.      The Debtors request that the Court approve the retention of Weil, under a

general retainer, as their attorneys to perform the extensive legal services that will be required

during these chapter 11 cases in accordance with Weil’s normal hourly rates in effect when

services are rendered and Weil’s normal reimbursement policies. In support of this Application,

the Debtors submit the declaration of Ray C. Schrock, a partner of Weil, which is annexed hereto

as Exhibit A (the “Schrock Declaration”), and the declaration of Todd DuChene, President and

Chief Legal Officer of Core Scientific, which is annexed hereto as Exhibit B (the “DuChene

Retention Declaration”).

                7.      A proposed form of order granting the relief requested herein is annexed

hereto as Exhibit C (the “Proposed Order”).

                               Relief Requested Should Be Granted

                8.      Section 327(a) of the Bankruptcy Code provides that “the trustee, with the

court’s approval, may employ one or more attorneys . . . that do not hold or represent an interest

adverse to the estate, and that are disinterested persons, to represent or assist the trustee in carrying

out the trustee’s duties under [the Bankruptcy Code].” 11 U.S.C. § 327(a).




                                                      3
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                                       Weil’s Qualifications

               9.      Since 2018, Weil has represented the Debtors with respect to various

matters, including certain transactional and litigation matters. Beginning in October 2022, Weil

has represented the Debtors with respect to their ongoing litigation with Celsius Network LLC

(“Celsius”) in the Celsius chapter 11 cases. At around the same time, Weil began advising the

Debtors in connection with their evaluation and execution of certain strategic initiatives to help

preserve and maximize the Company’s enterprise value. As a result of its prepetition engagement,

Weil possesses an in-depth knowledge of the Debtors’ capital structure and has gained additional

insight into the current condition of the Debtors’ industry, business, and operations. Specifically,

Weil was extensively involved in (i) prepetition negotiations with the Debtors’ key economic

stakeholders (including the Debtors’ restructuring efforts as discussed in greater detail in the First

Day Declaration), (ii) analyzing strategic alternatives with respect to the Debtors’ capital structure

and restructuring, (iii) negotiating and executing a restructuring support agreement (the “RSA”)

with an ad hoc group of Convertible Noteholders (the “Ad Hoc Noteholder Group”), (iv)

securing a $75 million DIP Facility, and (v) the preparation and commencement of these chapter

11 cases.   Accordingly, the Debtors believe Weil is uniquely situated with the necessary

background to address the potential legal issues that may arise in the context of the Debtors’

chapter 11 cases.

               10.     The Debtors have also selected Weil as their attorneys because of the Firm’s

extensive general experience and knowledge, including Weil’s recognized expertise in the field of

debtors’ protections, creditors’ rights, and the administration of cases under chapter 11 of the

Bankruptcy Code. For example, Weil currently represents or has represented, among others, the

following debtors and their affiliates: Phoenix Services Topco, LLC; Talen Energy Supply, LLC;




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Kabbage, Inc.; SAS AB; Ruby Pipeline; All Year Holdings Ltd.; Evergreen Gardens Mezz LLC;

CBL & Associates Properties, Inc., Fieldwood Energy LLC; Brooks Brothers Group, Inc.; Briggs

& Stratton Corporation; VIVUS, Inc.; CEC Entertainment, Inc.; ORG GC Midco, LLC; NPC

International, Inc.; Chisholm Oil and Gas Operating, LLC; Exide Technologies, LLC; Gavilan

Resources, LLC; 24 Hour Fitness Worldwide; SpeedCast International Limited; Chinos Holdings,

Inc.; Kingfisher Midstream LLC; EP Energy Corporation; Halcon Resources Corporation; Fusion

Connect, Inc.; Insys Therapeutics, Inc.; CTI Foods, LLC; Ditech Holding Corporation; PG&E

Corporation and Pacific Gas and Electric Company; Checkout Holding Corp.; Waypoint Leasing

Holdings Ltd.; LBI Media, Inc.; Sears Holdings Corporation; Tops Holding Company LLC;

Southeastern Grocers, LLC; Claire’s Inc.; Walter Inv. Mgmt. Corp.; Westinghouse Electric

Company LLC; TK Holdings Inc.; Angelica Corp.; Azure Midstream Partners, LP; Memorial

Production Partners LP; CHC Group Ltd.; Breitburn Energy Partners LP; American Gilsonite

Company; and Aéropostale, Inc.

               11.     The Debtors have been informed that Alfredo R. Pérez, a partner of Weil

who will be employed in these chapter 11 cases, is a member in good standing of, among others,

the Bar of the State of Texas and the United States District Court for the Southern District of Texas.

Other partners of, counsel to, and associates of Weil who will be employed in these cases are

members in good standing of other bars and courts. Accordingly, Weil is both well qualified and

uniquely able to represent the Debtors in their chapter 11 cases in an efficient and effective manner.

                                         Scope of Services

               12.     The employment of Weil under a general retainer, and in accordance with

its normal hourly rates and disbursement policies in effect from time to time, is appropriate and

necessary to enable the Debtors to execute faithfully their duties as debtors and debtors in




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possession and to prosecute their chapter 11 cases. Subject to further order of this Court, it is

proposed that Weil be employed to render the following professional services:

               a.       take all necessary action to protect and preserve the Debtors’ estates,
                        including the prosecution of actions on the Debtors’ behalf, the defense of
                        any actions commenced against the Debtors, the negotiation of disputes in
                        which the Debtors are involved and the preparation of objections to claims
                        filed against the Debtors’ estates;

               b.       prepare on behalf of the Debtors, as debtors in possession, all necessary
                        motions, applications, answers, orders, reports and other papers in
                        connection with the administration of the Debtors’ estates;

               c.       take all necessary actions in connection with any chapter 11 plan and related
                        disclosure statement and all related documents, and such further actions as
                        may be required in connection with the administration of the Debtors’
                        estates;

               d.       if necessary, take all appropriate actions in connection with the sale of any
                        or all of the Debtors’ assets pursuant to section 363 of the Bankruptcy Code,
                        or otherwise;

               e.       perform all other necessary legal services in connection with the
                        prosecution of these chapter 11 cases; provided, however, that to the extent
                        Weil determines that such services fall outside of the scope of services
                        historically or generally performed by Weil as lead debtors’ counsel in a
                        bankruptcy case, Weil will file a supplemental declaration.

               13.      It is necessary for the Debtors to employ attorneys to render the foregoing

professional services. Weil has stated its desire and willingness to act in these cases and render

the necessary professional services as attorneys for the Debtors.

               14.      In addition to this Application, the Debtors have filed, or expect to file

shortly, applications to employ: (i) Stretto, Inc., as claims and noticing agent and solicitation agent;

(ii) PJT Partners LP, as investment banker; (iii) AlixPartners, LLP, as financial advisor; and

(iv) Marcum LLP, as auditor. The Debtors may also file applications to employ additional

professionals, in connection with the administration of these chapter 11 cases and the Debtors’

ordinary course operations. Rather than resulting in any extra expense to the Debtors’ estates, it




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is anticipated that the efficient coordination of efforts of the Debtors’ attorneys and other

professionals will greatly add to the progress and effective administration of these chapter 11 cases.

               15.     As described in the Schrock Declaration, Weil will work with the Debtors’

other professionals to ensure a clear delineation of each firm’s respective roles in connection with

representation of the Debtors in these chapter 11 cases to prevent duplication of services and ensure

the case is administered in the most efficient fashion possible. It is anticipated that the efficient

coordination of efforts of the Debtors’ attorneys and other professionals will greatly add to the

progress and effective administration of these chapter 11 cases.

                                     Weil’s Disinterestedness

               16.     To the best of the Debtors’ knowledge, the partners of, counsel to, and

associates of Weil do not have any connection with or any interest adverse to the Debtors, their

creditors, or any other party-in-interest, or their respective attorneys and accountants, except as

may be set forth in the Schrock Declaration.

               17.     Based upon the Schrock Declaration, the Debtors believe that Weil is a

“disinterested person” as that term is defined in section 101(14) of the Bankruptcy Code as

modified by section 1107(b) of the Bankruptcy Code. The Debtors have been informed that Weil

will conduct an ongoing review of its files to ensure that no disqualifying circumstances arise. If

any new relevant facts or relationships are discovered, Weil will supplement its disclosure to the

Court.

                                   Professional Compensation

               18.     As set forth in the Schrock Declaration, for the 90 days prior to the Petition

Date, Weil received payments and advances in the aggregate amount of approximately $8,100,000

for professional services performed and to be performed, including the commencement and




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prosecution of these chapter 11 cases. Weil has a remaining credit balance in favor of the Debtors

for professional services performed and to be performed, and expenses incurred and to be incurred,

in connection with these chapter 11 cases in the amount of approximately $273,614.36 (the “Fee

Advance”). Weil intends to apply the Fee Advance to any outstanding amounts relating to the

period prior to the Petition Date that were not processed through Weil’s billing system as of the

Petition Date. Weil intends to retain the balance on account of services rendered and expenses

incurred subsequent to the Petition Date.

               19.    The Debtors understand and have agreed that Weil hereafter will apply to

the Court for allowances of compensation and reimbursement of expenses in accordance with the

applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local Rules,

the U.S. Trustee Guidelines for Reviewing Applications for Compensation and Reimbursement of

Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective

November 1, 2013 (the “Fee Guidelines”), and any further orders of the Court (the “Orders”) for

all professional services performed and expenses incurred after the Petition Date.

               20.    Subject to the provisions of the Bankruptcy Code, the Bankruptcy Rules,

the Bankruptcy Local Rules, the Fee Guidelines, and the Orders, the Debtors propose to

compensate Weil for services rendered at its customary hourly rates that are in effect from time to

time, as set forth in the Schrock Declaration, and to reimburse Weil according to its customary

reimbursement policies. The Debtors respectfully submit that Weil’s rates and policies stated in

the Schrock Declaration are reasonable.




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                                              Notice

              21.       Notice of this Application will be provided to any party entitled to notice

pursuant to Bankruptcy Rule 2002 and any other party entitled to notice pursuant to Bankruptcy

Local Rule 9013-1(d).

              WHEREFORE the Debtors respectfully request entry of the Proposed Order

granting the relief requested herein and such other and further relief as the Court may deem just

and appropriate.

Dated: January 15, 2023
       Austin, Texas
                                               CORE SCIENTIFIC, INC.
                                               (and each of its affiliated debtors as Debtors
                                               and Debtors in Possession)


                                               /s/ Todd DuChene
                                               Name: Todd DuChene
                                               Title: President and Chief Legal Officer




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                                    Certificate of Service

I hereby certify that on January 15, 2023, a true and correct copy of the foregoing document was
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.



                                                      /s/ Alfredo R. Pérez
                                                     Alfredo R. Pérez
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                             Exhibit A

                        Schrock Declaration
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                       §
In re:                                                 §        Chapter 11
                                                       §
CORE SCIENTIFIC, INC., et al.,                         §        Case No. 22-90341 (DRJ)
                                                       §
                    Debtors.1                          §        (Jointly Administered)
                                                       §

                                 DECLARATION OF
                          RAY C. SCHROCK IN SUPPORT OF
                    APPLICATION OF DEBTORS FOR AUTHORITY
              TO RETAIN AND EMPLOY WEIL, GOTSHAL & MANGES LLP AS
              ATTORNEYS FOR DEBTORS EFFECTIVE AS OF PETITION DATE

                    Pursuant to 28 U.S.C. § 1746, I, Ray C. Schrock, hereby declare as follows:

                    1.       I am a partner of the firm of Weil, Gotshal & Manges LLP (“Weil” or

the “Firm”), an international law firm with principal offices at 767 Fifth Avenue, New York, New

York 10153; regional offices in Houston and Dallas, Texas; Washington, D.C.; Miami, Florida;

Boston, Massachusetts; Princeton, New Jersey; Redwood Shores, California; and foreign offices

in London, United Kingdom; Frankfurt and Munich, Germany; Paris, France; Hong Kong; and

Beijing and Shanghai, China.

                    2.       I submit this declaration (this “Declaration”) in connection with the

Application submitted on the date hereof (the “Application”)2 of Core Scientific, Inc. and its




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific Acquired
    Mining LLC (N/A); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core Scientific Specialty
    Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard Capital LLC (6677);
    RADAR LLC (5106); American Property Acquisitions I, LLC (9717); and American Property Acquisitions, VII,
    LLC (3198). The Debtors’ corporate headquarters and service address is 210 Barton Springs Road, Suite 300,
    Austin, Texas 78704.
2
    Capitalized terms used but not otherwise herein defined shall have the meanings ascribed to such terms in the
    Application.
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debtor affiliates in the above-captioned chapter 11 cases, as debtors and debtors in possession

(collectively, the “Debtors”), for entry of an order authorizing the Debtors to employ and retain

Weil as their attorneys in the above-captioned chapter 11 cases, effective as of the Petition Date,

at Weil’s normal hourly rates in effect from time to time and in accordance with Weil’s normal

reimbursement policies, in compliance with sections 327(a), 328(a), 329, and 504 of title 11 of the

United States Code (the “Bankruptcy Code”), and to provide the disclosure required under Rules

2014(a) and 2016(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and

Rules 2014-1 and 2016-1 of the Bankruptcy Local Rules for the United States Bankruptcy Court

for the Southern District of Texas (the “Bankruptcy Local Rules”). Unless otherwise stated in

this Declaration, I have personal knowledge of the facts set forth herein. To the extent any

information disclosed herein requires amendment or modification upon Weil’s completion of

further review, or as additional information regarding parties in interest becomes available, a

supplemental declaration will be submitted to the Court reflecting such amended, supplemented,

or otherwise modified information.

               3.      Neither I, Weil, nor any partner of, counsel to, or associate of the Firm

represents any entity other than the Debtors in connection with these chapter 11 cases. In addition,

except as set forth herein, to the best of my knowledge, after due inquiry, neither I, Weil, nor any

partner of, counsel to, or associate of the Firm represents any party-in-interest in these chapter 11

cases in matters related to these chapter 11 cases.

                                  Weil’s Disclosure Procedures

               4.      Weil, which employs approximately 1,100 attorneys, has a large and

diversified legal practice that encompasses the representation of many financial institutions and

commercial corporations. Weil has, in the past, represented, currently represents, and may, in the




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future, represent, entities that are claimants or interest holders of the Debtors in matters unrelated

to these chapter 11 cases. Some of those entities are, or may consider themselves to be, creditors

or parties in interest in these chapter 11 cases or otherwise have interests in these cases.

               5.      In preparing this Declaration, I used a set of procedures developed by Weil

to ensure compliance with the requirements of the Bankruptcy Code, the Bankruptcy Rules, and

the Bankruptcy Local Rules regarding the retention of professionals by a debtor under the

Bankruptcy Code (the “Firm Disclosure Procedures”).              Pursuant to the Firm Disclosure

Procedures, I performed, or caused to be performed, the following actions to identify the parties

relevant to this Declaration and to ascertain Weil’s connection to such parties:

               a.      A comprehensive list of the types of entities that may have contacts with
                       the Debtors was developed through discussions with the Weil attorneys who
                       have provided services to the Debtors and in consultation with the advisors
                       to and senior management of the Debtors (the “Retention Checklist”). A
                       copy of the Retention Checklist is attached hereto as Exhibit 1.

               b.      Weil obtained information responsive to the Retention Checklist through
                       several inquiries of the Debtors’ senior management and advisors and
                       review of documents provided by the Debtors to Weil. Weil then used that
                       information, together with other information identified by Weil, to compile
                       a list of the names of entities that may be parties in interest in these chapter
                       11 cases (the “Potential Parties in Interest”).

               c.      Weil maintains a master client database as part of its conflict clearance and
                       billing records. The master client database includes the names of the entities
                       for which any attorney time charges have been billed since the database was
                       first created (the “Client Database”). The Client Database includes the
                       name of all current and former clients, the name of the parties who are or
                       were related or adverse to such current and former clients, and the names of
                       the Weil personnel who are or were responsible for current or former
                       matters for such clients. Weil’s policy is that no new matter may be
                       accepted or opened within the Firm without completing and submitting to
                       those charged with maintaining the conflict clearance system the
                       information necessary to check each such matter for conflicts, including the
                       identity of the prospective client, the name of the matter, adverse parties,
                       and, in some cases, parties related to the client or to an adverse party.
                       Accordingly, the database is updated for every new matter undertaken by
                       Weil. The accuracy of the system is a function of the completeness and
                       accuracy of the information submitted by the attorney opening a new matter.


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                   d.        Weil compared the names of each of the Potential Parties in Interest to client
                             matters in the Client Database for which professional time was recorded
                             during the two years prior to the comparison.3 Any matches to names in the
                             Client Database generated by the comparison were compiled, together with
                             the names of the respective Weil personnel responsible for the identified
                             client matters (the “Client Match List”).

                   e.        A Weil attorney then reviewed the Client Match List and deleted obvious
                             name coincidences and individuals or entities that were adverse to Weil’s
                             clients in both this matter and the matter referenced on the Client Match
                             List.

                   f.        Using information in the Client Database concerning entities on the Client
                             Match List and making general and, if applicable, specific inquiries of Weil
                             personnel, Weil verified that it does not represent and has not represented
                             any entity on the Client Match List in connection with these chapter 11
                             cases.

                   g.        In addition, a general inquiry was sent by electronic mail to all Weil
                             personnel (attorneys and staff) to determine whether any such individuals
                             or any members of their households (i) own any debt or equity securities of
                             the Debtors; (ii) hold a claim against or interest adverse to the Debtors;
                             (iii) are or were officers, directors, or employees of the Debtors or any of
                             the affiliates or subsidiaries; (iv) are related to or have any connections to
                             Bankruptcy Judges for the Southern District of Texas; or (v) are related to
                             or have any connections to anyone working for the U.S. Trustee.

                                       Weil’s Connections with Debtors

                   6.        Weil compiled responses to the foregoing inquiries for the purpose of

preparing this Declaration. Responses to the inquiry described in paragraph 5(g) above reflect

that, as of the Petition Date, Weil is not aware that any Weil personnel or member of the household

of any Weil personnel holds any claims against, stock of, or other interests in the Debtors and that

no such individuals held significant employment with the Debtors.




3
    For purposes of the Firm Disclosure Procedures, Weil considers an entity a “former client” if professional time was
    recorded within the past two years, but all matters for such client have since been closed. Because the Firm
    Disclosure Procedures only reflect client activity during the past two years, matches to client matters outside that
    timeframe are not reflected in this Declaration.



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               7.      Prior to the Petition Date, certain Weil attorneys clerked or otherwise

worked with Bankruptcy Judges in the Southern District of Texas. Effective August 14, 2019,

United States Bankruptcy Judge Christopher M. Lopez was appointed to the United States

Bankruptcy Court for the Southern District of Texas. Prior to such appointment, Judge Lopez was

employed by and counsel to Weil. Except for the foregoing, no Weil lawyers or support staff or

their family members is related to or has any other connections to Bankruptcy Judges in the

Southern District of Texas.

               8.      Since 2018, Weil has represented the Debtors with respect to various

matters, including certain transactional and litigation matters. Beginning in October 2022, Weil

has represented the Debtors with respect to the ongoing litigation with Celsius in the Celsius

chapter 11 cases. At around the same time, Weil began advising the Debtors in connection with

their evaluation and execution of certain strategic initiatives to help preserve and maximize the

Company’s enterprise value. Specifically, Weil was extensively involved in (i) prepetition

negotiations with the Debtors’ key economic stakeholders (including the Debtors’ restructuring

efforts as discussed in greater detail in the First Day Declaration), (ii) analyzing strategic

alternatives with respect to the Debtors’ capital structure and restructuring, (iii) negotiating and

executing the RSA with the Ad Hoc Noteholder Group, and (iv) securing a $75 million DIP

Facility. Most recently, Weil has provided the necessary services to enable the Debtors to

commence the above captioned chapter 11 cases.           Weil was primarily responsible for the

preparation of the chapter 11 petitions, initial motions, and applications relating to these chapter

11 cases and their commencement.




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                         Weil’s Connections with Parties in Interest in
                         Matters Unrelated to These Chapter 11 Cases

               9.      Either I, or an attorney working under my supervision, reviewed the

connections between Weil and the clients identified on the Client Match List, and the connections

between those entities and the Debtors. After such review, either I, or an attorney working under

my supervision, determined, in each case, that Weil does not hold or represent an interest that is

adverse to the Debtors’ estates and that Weil is a “disinterested person” as such term is defined in

section 101(14) of the Bankruptcy Code, as modified by section 1107(b) of the Bankruptcy Code,

for the reasons discussed below.

               10.     Weil previously represented, currently represents, and may in the future

represent the entities (or their affiliates) described below in matters unrelated to the Debtors and

their chapter 11 cases. An entity is described as a “Current Client” if Weil has any open matters

for such entity or a known affiliate of such entity and attorney time charges have been recorded on

any such matters within the past two years. An entity is described as a “Former Client” if Weil

represented such entity or a known affiliate of such entity within the past two years based on

recorded attorney time charges on a matter, but all matters for such entity or any known affiliate

of such entity have been formally closed. Disclosures relating to all other categories on the

Retention Checklist, attached hereto as Exhibit 2, are the product of implementing the Firm

Disclosure Procedures (the “Disclosure Schedule”). Except as otherwise disclosed herein, Weil

has not represented, does not represent, and will not represent any entities listed on the Disclosure

Schedule in matters directly related to the Debtors or these chapter 11 cases.

               11.     To the best of my knowledge and information, the annual fees for each of

the last two years paid to Weil by any party listed on the Disclosure Schedule or its affiliates, on

an aggregate basis, did not exceed 1% of the Firm’s annual gross revenue, except for those fees



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paid by the following entities: (i) TPG Global LLC and certain affiliates, (ii) Cumulus Coin LLC

and certain affiliates, and (iii) INE, LLC and certain affiliates. Weil has represented and continues

to represent TPG Global LLC and INE, LLC and certain of their respective affiliates in a variety

of matters, all of which are unrelated to these chapter 11 cases.

               12.     In addition, Weil previously represented Michael Levitt, the Debtors’ chief

executive officer and director, in connection with certain board service matters. Weil last provided

services to Mr. Levitt in 2019. In 2020, Weil represented GreensLedge Capital Markets LLC

(“GreensLedge”) in connection with a potential offering of preferred stock by the Debtors. The

transaction was not consummated, and since August 2020, Weil has not provided any services to

GreensLedge related to the Debtors.

               13.     In addition to the foregoing, through diligent inquiry, I have ascertained no

connection, as such term is used in section 101(14)(C) of the Bankruptcy Code, as modified by

section 1107(b) of the Bankruptcy Code, and Bankruptcy Rule 2014(a), between Weil and (i) the

United States Trustee for Region 7 (the “U.S. Trustee”) or any person employed by the U.S.

Trustee, (ii) any attorneys, accountants, or financial consultants in these chapter 11 cases, or

(iii) any investment bankers who represent or may represent the Debtors, claimants, or other

parties in interest in these chapter 11 cases, except as set forth herein and on the Disclosure

Schedule. As part of its practice, Weil appears in cases, proceedings, and transactions involving

many different attorneys, accountants, financial consultants, and investment bankers, some of

whom now, or may in the future, represent claimants and other parties in interest in these cases.

Weil has not represented, and will not represent, any such parties in relation to the Debtors or their

chapter 11 cases. Weil does not have any relationship with any such attorneys, accountants,

financial consultants, or investment bankers that would be adverse to the Debtors or their estates.




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               14.     Additionally, Weil has represented, and may currently represent, entities

that hold, or may in the future hold, certain of the Debtors’ debt in beneficial accounts on behalf

of unidentified parties. Because distressed debt is actively traded in commercial markets, Weil

may be unaware of the actual holder of such debt at any given moment. Weil also represents

numerous entities in unrelated matters that may buy and/or sell distressed debt, claims, or equity

interests of chapter 11 debtors. Moreover, from time to time, Weil is engaged by various entities

that buy and/or sell distressed debt to analyze the capital structure of a distressed company based

on a review of publicly available information. The Firm does not undertake such reviews after it

has been engaged to represent any such company, including the Debtors, and does not view any

public debt review as an adverse representation to the Debtors. Similarly, as a large firm, Weil

may represent creditors/investors of or parties interested in investing in one or more parties in

interest in these cases. Weil does not believe these relationships represent interests adverse to the

estates.

               15.     Certain of the parties in interest in these chapter 11 cases are or were from

time to time, members of ad hoc or official creditors’ committees represented by Weil in matters

unrelated to these chapter 11 cases. In such instances, Weil only represented the committee or

group, and did not represent the creditors in their individual capacities. Weil does not and will not

represent any of these parties in connection with these chapter 11 cases.

               16.     Despite the efforts described herein to identify and disclose Weil’s

connections with the parties in interest in these chapter 11 cases, and because the Debtors have

numerous relationships, Weil is unable to state with certainty that every client relationship or other

connection has been disclosed. Therefore, Weil will continue to apply the Firm Disclosure




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Procedures. If any new material, relevant facts, or relationships are discovered or arise, Weil will

promptly file a supplemental disclosure with the Court.

                                       Weil Is Disinterested

               17.     Based on the foregoing, insofar as I have been able to ascertain after diligent

inquiry, I believe Weil does not hold or represent an interest adverse to the Debtors’ estates in the

matters upon which Weil is to be employed and that Weil is “disinterested” as such term is defined

in section 101(14) of the Bankruptcy Code, as modified by section 1107(b) of the Bankruptcy

Code.

                          Weil’s Retainer, Rates, and Billing Practices

               18.     Weil is not a creditor of the Debtors. During the 90-day period prior to the

Petition Date, Weil received payments and advances in the aggregate amount of approximately

$8,100,000 for services performed and expenses incurred, and also to be performed and incurred,

including in preparation for the commencement of these chapter 11 cases. As of the Petition Date,

Weil held an advance payment retainer of approximately $273,614.36, subject to any amounts

Weil intends to apply against the retainer as set forth in this Application.

               19.     Weil intends to charge the Debtor for services rendered in these chapter 11

cases at Weil’s normal hourly rates in effect at the time the services are rendered. Weil’s current

customary hourly rates, subject to change from time to time, are $1,375.00 to $2,095.00 for

partners and counsel, $750.00 to $1,345.00 for associates, and $295.00 to $530.00 for

paraprofessionals.

               20.     Weil also intends to seek reimbursement for expenses incurred in

connection with its representation of the Debtors in accordance with Weil’s normal reimbursement

policies, subject to any modifications to such policies that Weil may be required to make to comply




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with orders of this Court, the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local

Rules, and the U.S. Trustee Guidelines for Reviewing Applications for Compensation and

Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases,

effective November 1, 2013 (the “Fee Guidelines”). Weil’s disbursement policies pass through

all out-of-pocket expenses at actual cost or an estimated actual cost when the actual cost is difficult

to determine. For example, with respect to duplication charges, Weil will charge $.10 per printed

black and white page and $.50 per color page because the actual cost is difficult to determine.

Similarly, as it relates to computerized research, Weil believes that it does not make a profit on

that service as a whole, although the cost of any particular search is difficult to ascertain. Other

reimbursable expenses (whether the service is performed by Weil in-house or through a third-party

vendor) include, but are not limited to, facsimiles, overtime, overtime meals, deliveries, court

costs, cost of food at meetings, transcript fees, travel fees, and clerk fees.

                21.     No promises have been received by Weil, or any partner, counsel, or

associate of Weil, as to payment or compensation in connection with these chapter 11 cases other

than in accordance with the provisions of the Bankruptcy Code, the Bankruptcy Rules, the

Bankruptcy Local Rules, and the Fee Guidelines. Furthermore, Weil has no agreement with any

other entity to share compensation received by Weil or by such entity.

                22.     The Application requests approval of Weil’s retention on rates, terms, and

conditions consistent with what Weil charges non-chapter 11 debtors, namely, prompt payment of

Weil’s hourly rates, as adjusted from time to time, and reimbursement of out-of-pocket

disbursements at cost or based on formulas that approximate the actual cost where the actual cost

is not easily ascertainable. Subject to these terms and conditions, Weil intends to apply for

allowance of compensation for professional services rendered in these chapter 11 cases and for




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reimbursement of actual and necessary expenses relating thereto, in accordance with the applicable

provisions of the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local Rules, the Fee

Guidelines, and any other applicable procedures and orders approved by the Court.

                      Coordination with Other Professionals for Debtors

               23.     Weil is aware that the Debtors have submitted, or intend to submit, separate

applications to retain, among others, (i) Stretto, Inc., as claims and noticing agent and solicitation

agent; (ii) PJT Partners LP, as investment banker; (iii) AlixPartners, LLP, as financial advisor; and

(iv) Marcum LLP, as auditor. Weil, in conjunction with the Debtors’ management team, intends

to monitor carefully and coordinate the efforts of all professionals retained by the Debtors in these

chapter 11 cases and will delineate their respective duties so as to prevent duplication of services

whenever possible. It is anticipated that the efficient coordination of efforts of the Debtors’

attorneys and other professionals will greatly add to the progress and effective administration of

these chapter 11 cases.

                          Attorney Statement Pursuant to Fee Guidelines

               24.     The following is provided in response to the request for additional

information set forth in Appendix B, Paragraph D.1 of the Fee Guidelines.

               Question:       Did you agree to any variations from, or alternatives to, your
                               standard or customary billing arrangements for this engagement?

               Response:       No.

               Question:       Do any of the professionals included in this engagement vary their
                               rate based on the geographic location of the bankruptcy case?

               Response:       No.

               Question:       If you represented the client in the 12 months prepetition, disclose
                               your billing rates and material financial terms for the prepetition
                               engagement, including any adjustments during the 12 months
                               prepetition. If your billing rates and material financial terms have



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                             changed postpetition, explain the difference and the reasons for the
                             difference.

              Response:      Weil represented the Debtors in the 12 months prior to the Petition
                             Date. In 2022, Weil’s hourly rates were $1,250.00 to $1,950.00 for
                             partners and counsel, $690.00 to $1,200.00 for associates, and
                             $275.00 to $495.00 for paraprofessionals. On January 1, 2023, Weil
                             adjusted its standard billing rates for its professionals in the normal
                             course. Paragraph 19 herein discloses the billing rates used by Weil
                             from January 1, 2023, subject to annual adjustment.

              Question:      Has your client approved your prospective budget and staffing plan,
                             and, if so, for what budget period?

              Response:      Weil is developing a prospective budget and staffing plan for these
                             chapter 11 cases. Weil and the Debtors will review such budget
                             following the close of the budget period to determine a budget for
                             the following period.

              25.    The foregoing constitutes the statement of Weil pursuant to sections 327(a),

328(a), 329, and 504 of the Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016(b), and

Bankruptcy Local Rules 2014-1 and 2016-1.

              I declare under penalty of perjury that the foregoing is true and correct.

 Dated: January 15, 2023
 New York, New York

                                               /s/ Ray C. Schrock
                                               Ray C. Schrock




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                                       Exhibit 1

                                 Retention Checklist

   Debtors
   Debtors’ Trade Names and Aliases (up to 8 years) (a/k/a, f/k/a, d/b/a)
   Bank Accounts
   Bankruptcy Judges and Staff for the Southern District of Texas
   Bondholders/Noteholders/Indenture Trustees
   Clerk of the Court for the Southern District of Texas
   Contract Counterparties (includes patents and intellectual property)
   Current Officers and Directors
   Affiliation of Current Officers and Directors
   Benefit Providers (Workers Compensation/Pension Plans/Third Party Administrators)
   Debtors Professionals (law firms, accountants and other professionals)
   Former Officers and Directors
   Insurance/Insurance Broker/Insurance Provider/Surety Bonds
   Landlords and Parties to Leases
   Lenders
   List of the Top 30 Unsecured Creditors
   List of the Creditors Holding the Top 100 Largest Unsecured Claims (Excluding Insiders)
   List of 5 Largest Secured Claims
   Litigation Counterparties/Litigation Pending Lawsuits (includes threatened litigation)
   Non-Debtor Affiliates and Subsidiaries
   Non-Debtor Professionals
   Official Committee of Unsecured Creditors
   Other Parties in Interest (Notice of Appearance Parties, and any other person or group
        appointed)
   Ordinary Course Professionals
   Other Secured Parties (Letters of Credit/ Issuers of Letters of Credit)
   Partnerships (if debtors is a partnership, its general and limited partners)
   Regulatory and Government Authorities – yellow not on excel but ran
   Secured Creditors
   Significant Competitors
   Significant Customers and Contract Counterparties
   Significant Shareholders (more than 5% of equity)
   Significant Vendors/Suppliers
   Taxing Authorities
   U.S. Attorney’s Office for the Southern District of Texas
   UCC Search Results/UCC Lien Search Results
   Unions N/A
   United States Trustee and Staff for the Southern District of Texas
   Utility Providers/Utility Brokers


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                                    Potential Parties in Interest

Debtors:                                            Dena Hanovice Palermo
Core Scientific Mining LLC                          Carol Felchak
Core Scientific, Inc.                               Jeannie Chavez
Core Scientific Acquired Mining LLC                 Sam S. Sheldon
Core Scientific Operating Company                   Shannon Jones
Radar Relay, Inc.
Core Scientific Specialty Mining (Oklahoma)         Bondholders/Noteholders/Indenture
    LLC                                             Trustees:
American Property Acquisition, LLC                  U.S. Bank National Association
Starboard Capital LLC
RADAR LLC                                           Clerk of the Court for Southern District of
American Property Acquisitions I, LLC                  Texas:
American Property Acquisitions VII, LLC             Darlene Hansen
                                                    Nathan Ochsner
Debtors’ Trade Names and Aliases (up to 8
years) (a/k/a, f/k/a, d/b/a):                       Contract Counterparties (includes patents:
155 Palmer Lane, LLC                                    and intellectual property)
Blockcap, Inc.                                      (See Significant Customers and Contract
Core Scientific Holdings Co.                            Counterparties)
Core Scientific, Inc.
GPU One Holdings, LLC                               Current Officers and Directors:
Mineco Holdings, Inc.                               Carol Haines
Power & Digital Infrastructure Acquisition          Darin Feinstein
    Corp.                                           Denise Sterling
Radar Relay, LLC                                    Jarvis Hollingsworth
XPDI                                                Jeff Pratt
                                                    Jeff Taylor
Bank Accounts:                                      Katharine (“Katy”) Hall
Bank of America                                     Kneeland Youngblood
City National Bank                                  Krista Rhynard
Bremer Bank                                         Kyle Buckett
                                                    Lynn Burgener
Bankruptcy Judges and Staff for Southern            Matthew Brown (“Matt”)
    District of Texas:                              Matthew Minnis (“Matt”)
Judge David R. Jones                                Michael Bros
Judge Marvin Isgur                                  Michael Levitt (“Mike”)
Judge Christopher M. Lopez                          Neal P. Goldman
Judge Jeffrey P. Norman                             Russell Cann
Judge Eduardo V. Rodriguez                          Steve Gitlin
Peter Bray                                          Todd DuChene
Jason Marchand                                      Weston Adams
Albert Alonzo
Rosario Saldan                                      Affiliation of Current Officers and Directors:
Christina Bryan                                     Baylor Health Care System Foundation
Melissa Morgan-Faircloth                            California Institute of Technology (Caltech)
LinhThu Do                                          Diamond Offshore Drilling, Inc.
Mario Rios                                          Kayne Anderson BDC, LLC
Yvonne Ho                                           Kayne Anderson Capital Advisors, L.P.
Samantha Warda

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Kayne Anderson Energy Infrastructure Fund           Debtors Professionals:
    Inc. (KYN)                                      AlixPartners LLP
Kayne Anderson NextGen Energy &                     PJT Partners LP
    Infrastructure Inc. (KMF)                       Stretto, Inc.
Laredo Petroleum, Inc.                              Weil, Gotshal & Manges LLP
Mackay Shields, LLC
Mallinckrodt Pharmaceuticals                        Former Officers and Directors:
Memorial Hermann Hospital System                    Aber Whitcomb
Och Ziff Capital Management, LP                     Alan Curtis
Pledgeling Technologies                             Brandon Curtis
Prostate Cancer Foundation                          Brett Harrison
Scientific Games Corporation                        Brian Neville
Southwestern Medical Foundation                     Bryce Johnson
Talos Energy, Inc.                                  Caleb Tebbe
Teacher Retirement System of Texas                  Christel Sice
The Council on Foreign Relations                    Christy Barwick
The Music Acquisition Corp                          Clark Swanson
TPG Pace Beneficial Finance Corporation I and       Colin Crowell
    II                                              Dan Christen
Weatherford International                           Devon Eldridge
                                                    George Kollitides
Benefit Providers:                                  Harlin Dean
    (Workers Compensation/ Pension Plans            Kevin Turner
    /Third Party Administrators)                    Larry Rudolph
Aetna                                               Matthew Bishop
Aflac                                               Michael Truzpek
Allstate Benefits                                   Peter Dorrius
American Security and Protection Services LLC       Peter J. Novak
Blue Cross Blue Shield CA                           Peter Sladic
Blue Cross Blue Shield NC                           Sharon Orlopp
BNY Mellon Bank                                     Stacie Olivares
Chubb Personal Excess Liability Insurance
Citibank (Administered by PayFlex)                  Insurance/Insurance Broker/Insurance
Delta Dental                                        Provider/Surety Bonds:
Expensify Payments LLC                              AmTrust
Farmers Group Select Home & Auto Insurance          AON
Florida Blue                                        Arch Specialty Ins. Co (via AmWins)
Globalization Partners Professional Services        Ascot Syndicate No. 1414 (Ethos via AmWins)
Group Health Aetna                                  Aspen Specialty Ins. Co (via AmWins)
Guardian                                            AXIS Surplus Ins. Co (via Amwins)
Kaiser Permanente                                   Beazley (Lloyd's Syndicate 2623)
MetLife                                             Beazley (Lloyd's Syndicate No. 2623 (Beazley
Optum Bank                                              UK)
Securitas Security Services USA, Inc.               Beazley Insurance Company
TriNet - COBRA                                      Berkley National Insurance Company
TriNet HR III, LLC                                  Berkley Prof Liability
Tufts                                               Berkshire Hathaway Specialty Ins. Company
UnitedHealthcare (“UHC”)                            CAC Specialty
Vision Service Plan (“VSP”)                         Columbia Casualty Company (CNA)


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Endurance American Specialty Insurance                Minnkota Power Cooperative, Lessor
    Company (Sompo)                                       (Commercial Lease, Ground Lease)
Federal Insurance Company (Chubb)                     Mobley Holdings LLC - Liberty Point
General Casualty Co of WI (QBE)                           Apartments
Harco National Insurance Company (360)                Monarch Apartment Homes
Hiscox Insurance Company                              Ncredible Properties
Kinsale Insurance Company (via Amwins)                Nodak Electric Cooperative
Landmark American Insurance Company (RSUI             Nodak Electric Cooperative Inc.
    via Amwins)                                       Peerless Events & Tents LLC
Lexington Insurance Company (AIG) via RT              SRPF A QR Riversouth LLC
    Specialty                                         The District
Lexington Insurance Company (via Amwins)              The Preserve at Spring Creek
Lloyd's Syndicate No. 2623 (Beazley UK)               Tien Yun Investments, LLC (dba TY Properties)
National Union Fire Ins. Co of Pittsburgh (AIG)       Worksmith, Inc.
Navigators Insurance Co (Hartford)                    Lenders:
Obsidian Specialty Insurance Company (Orion           1994 Steinfeld Family Trust
    via RT Specialty)                                 36th Street Capital
Pennsylvania Insurance Company (Applied via           ACM ELF ST, LLC (Atalaya)
    RT Specialty)                                     Amplify Transformational Data Sharing ETF
Policies Held by PEOs TriNet and Globalization        Anchorage Lending CA, LLC
    Partners                                          Andrew Rosen 2004 Successor Insurance Trust
QBE Insurance Corporation                             Apollo Centre Street Partnership, L.P.
Starr Indemnity & Liability Co                        Apollo Lincoln Fixed Income Fund, L.P.
Swiss Re Corporate Solutions Capacity Ins.            Apollo Moultrie Credit Fund, L.P.
    Corp (via Amwins)                                 Apollo Tactical Value SPN Investments, L.P.
The Princeton Excess & Surplus Lines Ins. Co          Arctos Credit, LLC
    (Munich Re via Amwins)                            B. Riley Bridge Loan
U.S. Customs and Border Protection                    B. Riley Commercial Capital, LLC
Vantage Risk Specialty Insurance Company (RT          Bank of the West
    Specialty)                                        Barings BDC, Inc.
Wright National Flood Ins. Co (NFIP)                  Barings Capital Investment Corporation
XL Specialty Ins. Co.                                 Barings Private Credit Corp
                                                      Barkley Investments, LLC
Landlords and Parties to Leases:                      Better Downtown Miami LLC
Cheryl Ogle & the Crystal Ogle Management             Birch Grove Strategies Master Fund LP
    Trust                                             BlackRock Credit Alpha Master Fund L.P.
City of Denton                                        BlockFi
Dalton-Whitfield Joint Development Authority          BlockFi A
Elmington Property Management LLC                     BlockFi B
Elmington Property Mgmt. LLC - Monarch                BlockFi Lending, LLC
    Apartments                                        Bremer Bank
Hannig Row Partnership                                BRF Finance Co., LLC
Hudson GRC LLC                                        Brown Corporation
Hurd Real Estate Associates                           Cannon Investments LLC
Jobe Ranch Family Limited Partnership, Lessor         Celsius Core LLC
    (11/15/2021)                                      Corbin Opportunity Fund, L.P.
Jobe Ranch Family Limited Partnership                 Cryptonic Black, LLC
Liberty Point Apartments                              David Sarner
Minnkota Power Cooperative Inc.                       De Lage Landen Financial Services, Inc.
                                                      Dell Financial Services L.L.C.

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Douglas Lipton                                    Prime Alliance Bank
Ferro Investments Ltd.                            Richard Katz 2016 GST Trust
FGK Investments Ltd.                              Robert Fedrock
Fidelity Capital Corp.                            Sabby Volatility Warrant Master Fund, Ltd.
First Sun Investments, LLC                        SRPF A QR Riversouth LLC
Frank Pollaro                                     Stonebriar Commercial Finance LLC
FTF Diversified Holdings, LP                      Stonebriar Finance Holdings LLC
Galaxy Digital LP                                 SunnySide Consulting and Holdings, Inc.
Garic Limited                                     TBC 222 LLC
Genesis Global Capital, LLC                       Tech Finance Corporation
Genesis Global Capital, LLC #1                    The Kimmel Family Foundation
Greensledge Merchant Holdings, LLC                The Michael O. Johnson Revocable Trust
Gullane Capital Partners, LLC                     The Obsidian Master Fund
Gullane Digital Asset Partners OP, LLC            The Sear Family 1996 Trust
Gullane Digital Asset Partners, LLC               The William R. Guthy Separate Property Trust
HC NCBR Fund                                      TJC3 LLC
Holliwood, LLC                                    Toyota Commercial Finance
Ibex Partners (Core) LP                           Transatlantic Mobility Holdings II LLC
ICG CoreSci Holdings, LP                          Trinity Capital Inc.
Indigo Direct Lending, LLC                        U.S. Bank National Association
James Pulaski                                     VFS LLC
Jason Capello                                     Vineet Agrawal
John Badger Quinn                                 Wilmington Savings Fund Society, FSB
John P. Joliet                                    Wolfswood Holdings LLC
JPAS - Credit LLC (“JPAS” is Jordan Park          Wormser Family Partnership II, LP
    Access Solutions)                             Wormser Family Partnership 11, LP
JPAS - Crypto Infrastructure-A S.P.               XMS Core Convert Holdings LLC
JSK Partnership LLC
Kensico Associates, L.P.                          List of the Top 30 Unsecured Creditors:
Kensico Offshore Fund Master, Ltd                 AAF International
KMR CS Holdings, LLC                              Amazon Web Services Inc.
Leon J. Simkins Non-Exempt Trust FBO              Bergstrom Electric
    Michael Simkins                               BRF Finance Co., LLC
Levbern Management LLC                            CDW Direct
Liberty Commercial Finance, LLC                   CES Corporation
Liberty Stonebriar                                Cherokee County Tax Collector
Marsico AXS CS LLC                                Cooley LLP
Mass Mutual Barings                               Dalton Utilities
Massachusetts Mutual Life Insurance Company       DK Construction Company
Milos Core LLC                                    Duke Energy
Monbanc Inc.                                      FlowTx
Neso Investment Group Ltd                         Gensler
North Mill Equipment Finance                      Harper Construction Company, Inc.
North Star Leasing                                Herc Rentals
Northdata Holdings Inc.                           Kentucky Department of Revenue
Novak                                             LiveView Technologies Inc.
NYDIG                                             Marshall County Sheriff
OIP SPV Core Scientific, LLC                      McDermott Will and Emery LLP
Omega Interceptor Restricted Ltd                  Moss Adams LLP
Pescadero Capital, LLC                            OP

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Priority Power Management, LLC                     GreatAmerica Financial Services
Reed Wells Benson and Company                      Grubhub Holdings Inc.
Securitas Security Services USA Inc.               Hannan Supply Company Inc.
Shell Energy Solutions                             Herc Rentals
Sidley Austin LLP                                  IEWC Global Solutions
Tenaska Power Services Co                          Interstate Welding and Steel Supply
Tenet Solutions                                    J W Didado Electric LLC
Trilogy LLC                                        Jackson Purchase Energy Corporation
U.S. Customs and Border Patrol                     Jacob John Novak
                                                   Kelly Services Inc
List of the Creditors Holding the Top 100          Lattice
Largest Unsecured Claims (Excluding                Lib Fin LLC
Insiders):                                         Lisa Ragan Customs Brokerage
A to Z pest Control and Services                   Manpower
AAF International                                  Marble Community Water System
AccuForce HR Solutions LLC                         Marnoy Interests Ltd.
Acme Tools                                         Marshall County Sheriff
Altru Health System                                MassMutual Asset Finance LLC
Amazon Business                                    Moss Adams LLP
Amazon Web Services Inc.                           Mountain Top Ice
American Paper and Twine Co                        Onyx Contractors Operations, LP
American Security and Protection Service LLC       Optilink
AT&T                                               Proctor Management
Averitt Express Inc.                               Reed Wells Benson and Company
Bearden Industrial Supply                          Regional Disposal and Metal LLC
Bergstrom Electric                                 Resound Networks LLC
BlockFi Lending LLC                                Ricks Rental Equipment
C & W Facility Services, Inc.                      Robert Half Talent Solutions
C.H. Robinson Company, Inc.                        Securitas Security Services USA Inc.
Callahan Mechanical Contractors Inc.               Slalom LLC
Carolina Recycling & Consulting LLC                Snelling
CES Corporation                                    Stonebriar Finance Holdings LLC
Charter Communications, Inc. (dba Spectrum)        Supreme Fiber LLC
Cherokee County Tax Collector                      Technology Finance Corporation
City of Calvert City                               Temps Plus of Paducah Inc.
Collier Electrical Service Inc.                    Tenaska Colocation Services LLC
ComputerShare Inc.                                 Tennessee Valley Authority
Condair Inc                                        Truckload Connections, LLC
Dakota Carrier Network                             US Customs and Border Patrol
Data Sales Co Inc.                                 Waste Path Services LLC
Delaware Secretary of State                        Water Works C&R, LLC
DJNR Interactive LLC                               XC Container LLC
DK Construction Company                            ZetaMinusOne LLC
Draffen Mart Inc.
EPB of Chattanooga                                 List of 5 Largest Secured Claims:
Equinix Inc.                                       (See Significant Vendors/Suppliers)
Equipment Depot of Kentucky Inc.
Frontier Communications America Inc.               Litigation Counterparties/Litigation Pending
Gensler                                                Lawsuits (includes threatened litigation):
Globalization Partners LLC                         Benjamin Thomison & Alpha Asic

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Harlin Dean                                          Other Parties in Interest:
Jonathan Barrett, et al.                             (See Other Parties in Interest (Notice of
LV net, Mizrahi et al.                                   Appearance Parties, and any other person or
McCarthy Buildings Companies, Inc.                       group appointed)
Mei Pang
Sphere 3d                                            Notice of Appearance Parties/Interested
Stayfirst Branding Agency                            Parties:
                                                     36th Street Capital Partners, LLC
Non-Debtor Affiliates and Subsidiaries:              Barings BDC, Inc. (as prepetition secured
Core Scientific Partners GP, LLC (SMLLC)                 lenders)
Core Scientific Partners, LP                         Barings Capital Investment Corporation (as
CSP Advisors, LLC (SMLLC)                                prepetition secured lenders)
CSP Liquid Opportunities Fund, LP                    Barings Private Credit Corp. (as prepetition
CSP Liquid Opportunities GP, LP                          secured lenders)
CSP Liquid Opportunities Master Fund, LP             BlockFi, Inc.
CSP Liquid Opportunities Offshore Fund               CEC Energy Services LLC
   (Exempted Ltd)                                    City of Denton
Team LLC                                             Dalton Utilities
XPDI Sponsor LLC                                     GEM Mining 1, LLC
                                                     GEM Mining 2, LLC
Non-Debtors Professionals:                           GEM Mining 2B, LLC
Arnold & Porter Kaye Scholer LLP                     GEM Mining 3, LLC
    (Counsel for Prepetition Secured Lenders)        GEM Mining 4, LLC
Duane Morris LLP                                     Harper Construction Company, Inc.
Ducera Partners                                      Huband-Mantor Construction, Inc.
    (Proposed as Investment Banker for the           Humphrey & Associates, Inc.
    Official Committee of Unsecured Creditors)       Marnoy Interests, Ltd. d/b/a Office Pavilion, or
Moelis & Company LLC                                     Office Pavilion
Paul Hastings LLP                                    MP2 Energy Texas, LLC d/b/a Shell Energy
    (Counsel for Ad Hoc Group of Secured                 Solutions
    Convertible Noteholders)                         NYDIG ABL LLC (f/k/a Arctos Credit, LLC)
Skadden, Arps, Slate, Meagher & Flom LLP                 (“NYDIG”)
    (Proposed Counsel for Ad Hoc Group of            Prime Alliance Bank, Inc.
    Equity Security Holders)                         Priority Power Management, LLC
Sidley Austin LLP                                    Sphere 3D Corp.
    (Counsel of NYDIG ABL LLC)                       SRPF A QR Riversouth LLC
Troutman Pepper Hamilton Sanders LLP                 Tenaska Power Services Co.
    (Counsel for Dalton Utilities)                   Travis County (TX)
Willkie Farr & Gallagher LLP                         Trinity Capital Inc.
    (Proposed Counsel for the Official               U.S. Bank National Association (as Prepetition
    Committee of Unsecured Creditors)                    Note Agent and Collateral Agent)
                                                     Willkie Farr & Gallagher LLP
Official Committee of Unsecured Creditor                 (Proposed Counsel for the Official
    Members and Professionals:                           Committee of Unsecured Creditors)
Willkie Farr & Gallagher LLP                         Wingspire Equipment Finance, LLC
Ducera Partners
Dalton Utilities                                     Ordinary Course Professionals:
Sphere 3D Corp.                                      Akin Gump Strauss Hauer & Feld LLP
BRF Finance Co., LLC (a B. Riley affiliate)          Alston & Bird LLP
                                                     Andersen Tax LLC

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Bitmain Technology Inc.                            Sternhell Group
Blue Ridge Law & Policy, P.C.                      Williams & Connolly LLP
Campbells Regulatory Services Limited              Workday, Inc.
CO Services Cayman Limited                         Workiva Inc.
Cooley LLP                                         Frost, Brown Todd LLC
CrossCountry Consulting LLC
CSS Partners, LLC                                  Proposed Ad Hoc Group of Equity Security
Cypress Advocacy, LLC dba Mindset                      Holders and Professionals:
Deloitte & Touche LLP                              Skadden, Arps, Slate, Meagher & Flom LLP
Deloitte Tax LLP                                   Custodian CSPB
Deloitte Transactions and Business Analytics       Douglas Abrams
     LLP                                           Eddie Griffin
Ernst & Young LLP                                  Jay Deutsch
Ernst & Young Product Sales LLC                    Lukasz Gottwald
Ernst and Young US LLP                             Mark Beaven
Evercore Group LLC                                 The Rudolph Family Trust
Faegre Drinker Biddle and Reath LLP                Todd Deutsch
Fishman Stewart PLLC                               Two Trees Capital Limited BVI
Frost, Brown Todd LLC
Gartner Inc.                                       Other Secured Parties (Letters of Credit/
Gasthalter and Co LP                                  Issuers of Letters of Credit):
Greenberg Traurig, LLP                             N/A
Holland and Hart LLP
Ironclad, Inc.                                     Partnerships (if debtors is a partnership, its
Jackson Walker LLP                                 general and limited partners):
Kirkland and Ellis LLP                             N/A
KPMG LLP
Marcum LLP                                         Regulatory and Government:
McDermott Will & Emery LLP                         (See Taxing Authorities)
Mintz Group LLC                                    Environmental Protection Agency
Morgan, Lewis & Bockius LLP                        Internal Revenue Service (“IRS”)
Moss Adams LLP                                     Occupational Safety and Health Administration
Murphy & Grantland, P.A.                           Securities and Exchange Commission (“SEC”)
NASDAQ Corporate Solutions, LLC                    U.S. Customs and Border Protection
NAVEX Global, Inc.                                 Secured Creditors:
Netgain Solutions, Inc.                            ABLe Communications, Inc.
Oracle America, Inc.                               ComNet Communications, LLC
PricewaterhouseCoopers LLP                         Consolidated Electrical Distributors, Inc. dba
Prickett Jones and Elliott PA                          Sun Valley Electric Supply
Quinn Emanuel Urquhart & Sullivan, LLP             Coonrod Electric Co, LLC
Registered Agent Solutions, Inc.                   Elliot Electric Supply, Inc.
Resources Global Professionals                     Harper Construction
Richards Layton and Finger PA                      Housley Communications, Inc.
Riverbend Consulting LLC                           Huband Mantor Construction Inc.
Rowlett Hill Collins LLP                           Humprey & Associates, Inc.
Ryan & Associates                                  LML Services dba FlowTx
Ryan LLC                                           McElroy Metal Mill, Inc. dba McElroy Metal
Sidley Austin LLP                                  MK-Marlow Company, LLC
Sitrick and Company                                Morsco Supply LLC dba Morrison Supply
Snell & Wilmer                                         Company

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Network Cabling Services, Inc.             Brent Jason Deboer
Priority Power                             Burdy Technology Limited
Summit Electric Supply                     BW Holdings, LLC
Sure Steel - Texas, LP                     CAC Global LLC
T&D Moravits & Co.                         CCP Credit Acquisition Holdings, L.L.C.
Texas AirSystems, LLC                      Celsius Mining LLC
Wesley-Thompson Hardware, Inc.             Charles Aram
                                           Chris Chiovitti Holdings Inc.
Significant Competitors:                   Clearly Leasing, LLC
Argo Blockchain PLC                        Colin Jacobs
Bitfarms Technologies Ltd.                 Colin Smith
     (fka Blockchain Mining Ltd.)          Compass Mining, Inc.
Cipher Mining Inc.                         Crypto Garden, Inc.
CleanSpark, Inc.                           Cumulus Coin LLC
Greenidge Generation Holdings Inc.         DCG Foundry LLC
Hive Blockchain Technologies Inc.          Digifarm Technologies Limited
Hut 8 Mining Corp.                         Dreams and Digital, LLC
Iris Energy Ltd.                           DUS Management Inc.
Marathon Digital Holdings, Inc.            Etcembly Ltd
Mawson Infrastructure Group Inc.           EverData, LLC
Riot Blockchain, Inc.                      EZ BlockChain LLC
                                           Flourishing Field Limited
Significant Customers and Contract         Gateway Korea Inc.
Counterparties:                            GEM Mining
1277963 B.C. Ltd dba Bitfield              Gilley Enterprises
ADQ Financial Services LLC                 Global Star Holding Co.
Agricultural Scientific LLC                Goodrose 5009, Inc.
Aidant.ai                                  Gopher, LLC
AJT Trading, LLC                           GPU.ONE
Alloy Ventures Management LLC              Greg Pipho
Argo Innovation Labs Inc.                  Gryphon Digital Mining, Inc.
AsicXchange Team Inc.                      Hanwha Energy USA Holdings Corporation
Atlas Technology Group LLC                 Henry Ho
Bay Colony Law Center, LLC                 Hewlett Packard Enterprise Company
Bay Online Media                           Hockomock Mining Company
Benjamin Rees                              Horizon Kinetics
BEP 888, LLC                               Icons8
BEP 999, LLC                               Isoplex Inc.
Bitdeer, Inc.                              Israel Garcia
Bit Digital USA, Inc.                      Jacob McDaniel
Bitmain Development Inc.                   JAM Mining Corp.
Bitmain Technologies Georgia Limited       JMB Capital Partners Lending, LLC
Bitmaintech PTE LTD                        Kaboomracks, Inc.
Bizmatica Polska JSC                       Kalon Investments, LLC
Block One Technology                       Kristy-Leigh Minehan
Blockcap Inc.                              Lake Parime USA Inc.
Blockchain United Mining Services          Leon Hadgis
Blockfusion Technologies                   LivePerson, Inc.
Blue Hills Co, LLC                         Lonestar Ole Git LLC
Blue Torch Capital LP                      Luxor Technology Corp

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Mark Bordcosh                                          William McCarter
Mineority Group                                        * Certain Other Contract Counterparties of a
Mineority Group LLC                                        Confidential Nature
Mississippi Home Development                           Significant Shareholders (more than 5% of
N9+, LLC                                               equity):
New Green Network LLC                                  Darin Feinstein
NextEra Energy Capital Holdings                        Michael J. Levitt
NFN8 Media, LLC                                        MPM Life LLC
Nissan North America, Inc.
Nomura Corporate Funding Americas, LLC                 Significant Vendors/Suppliers:
North Georgia Data LLC                                 1872 Consulting LLC
NVIDIA Corporation                                     2012Exxact Corporation
Pete Abdo                                              5Fastenation Inc.
Polyphase Capital, LLC                                 5STAR5 INC
Poolin Technology Pte. Ltd.                            Abu Dhabi Ports Company PJSC – KIZAD
Pure Storage, Inc.                                     Accent Awnings Inc.
Quandefi Opportunities LLC                             Adaptive Insights LLC
Quantum Digital Network Assets, LLC                    Advanced Business Equipment
Richard Norman                                         Agility Logistics Corp
Rio Verde Holdings Ltd                                 Agora NW LLC
River Financial Inc.                                   AIM Summit FZE
RJW Digital Solutions                                  Aircraft Services Group Inc.
RME Black 100, LLC                                     Airflow Sciences Corporation
RME Black 200, LLC                                     Alation, Inc.
RME Black 88, LLC                                      Albacross Nordic AB
Rodrigo Perusquia                                      Alfa Internationals Logistics Inc.
RPM Balance, Inc.                                      Aliexpress
Rudy Worrell                                           Alliance Funding Group
Savage.io                                              Allied Steel Buildings Inc.
Seagen Inc.                                            Allstream
Sensika Technologies OOD                               Alpha Miner LLC
Serge Marin                                            Alpha Vertical Inc.
Socrates Roxas                                         Alston and Bird LLP
Spring Mud LLC                                         Alteryx Inc.
Summit Crypto Mining Limited                           American Registry for Internet Numbers Ltd
Supplybit, LLC                                         Americord
Tansley Equipment Limited                              Ameri-Dedicated Inc.
Techshop Computers Ltd.                                Andrew Ferraro
Teslawatt                                              Angel Bejarano Borrega
The Allen Institute for Artificial Intelligence        Aon Consulting Inc.
Timeless Digital Corp.                                 AON Risk Insurance Services West Inc.
T-Mobile USA, Inc.                                     Applied Scale Technology
Tomek Group, LLC                                       ARIBA INC
Tony Grijalva                                          Armstrong Moving Solutions San Antonio LLC
TYMIF Coin Ventures, LLC                               Arrow Exterminators
Union Jack, LLC                                        Arrowfish Consulting
UnitX                                                  Atlantic Trailer Leasing & Sales, LLC
US Digital Mining and Hosting Co., LLC                 Atlas Mining
Vaerus Mining SPV2 LLC                                 Atrio Inc.
VCV Power Mining Alpha LLC                             AvTech Capital LLC

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Bandy Transport Company                           Ciemat
Barnhart Crane and Rigging Co                     CIOReview
Beacon Building Products                          Circular Technologies Inc.
Bearcom                                           Cision US Inc.
Belyea Company Inc.                               Citadel Securities Corp Solutions
Benton Electric Supply Inc.                       City Electric Supply
Bernard Klopfer                                   City of Bellevue - Tax Division
Better IT Solutions LLC                           Cleerline Technology Group LLC
Big Ass Fans                                      Cloudflare Inc.
Bigbee Steel Buildings Inc.                       CNA Insurance
Bigeye, Inc.                                      Cohen and Company LTD
Bitmain Development Inc.                          Coin Center Inc.
Bitmain Technologies Limited                      Coinbase Inc.
Bitwave                                           Coindesk Inc.
Black Box Network Services Inc.                   Colo Properties Atlanta LLC
Blackline Safety Corp                             Color Scapes Landscaping, Inc.
Blackpearl Management and Human Resource          Commercial Acoustics
    Consulting LLC                                Common Desk Austin LLC
Blakes Cassels and Graydon LLP                    Compensation Advisory Partners, LLC
Blockchain Association                            Comware
Blue Cross Blue Shield of Texas                   ConGlobal Industries LLC
Bring Light and Sound LLC                         Consero Global Solutions LLC
Broadridge ICS                                    Consilio LLC
BTC Media                                         Constellation New Energy, Inc.
Building Image Group, Inc.                        Container Monster LLC
Built In Inc.                                     Convergint Technologies LLC
Bureau Van Dijk Electronic Publishing Inc.        CoreWeave Inc.
Business Wire Inc.                                Covert Chrysler Dodge Jeep Ram
BWS Acoustics                                     Crescendo Collective LLC
Calloway County Board of Education                Crestline Solutions LLC
Calvert Cafe LLC                                  Critical Components Inc.
Calvert City Municipal Water and Sewer            Crystal Caverns Spring Water LLC
Canaan Convey Co Ltd                              Cunningham Golf and Utility Vehicles
Capital City Public Affairs LLC                   Cusip Global Services
Capxon Electronics Shenzhen Co Ltd                D16 LLC
Carolina Utility Customers Association            Dakota Fire Protection Inc.
Carpet Capital Fire Protection Inc.               Dalton Fence Company
Carpet Capital Multi-System Inc.                  Dalton Service Inc.
CCR Corp                                          Databricks, Inc.
CDW Direct                                        Datasite LLC
CDW Middle East FZ LLC                            David Herrington
CenturyLink                                       Davis Wright Tremaine LLP
Cesar Gomez Martin                                Denton Chamber of Commerce Inc.
CFS Containers                                    Dentons Canada LLP
Chamber of Digital Commerce                       DHL Express (USA) Inc.
Chapeau!                                          DigiCert Inc.
Cherokee County Health Department                 Digi-key
Cherokee Well Drilling                            Digital Asset Services Ltd
Chroma System Solutions, Inc.                     Digital London Ltd
Chubb                                             Digital Mountain Inc.

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Dillon Eldridge                                      FreightEx Logistics LLC
Distributed Ledger Inc.                              Frontline Shredding Inc.
Dockery Auto Parts                                   Frost Brown Todd Attorneys LLC
Dockzilla Co                                         FS.Com Inc.
Docusign Inc.                                        FXSA
Dongguan Fa Site Electronic Technology Co            G.I. Joe Landscaping, LLC
    Ltd                                              Gagnon & Miceli Freight Inc.
Donnelley Financial Solutions                        Genesis Custody Limited
DSV Air and Sea Inc.                                 Gibson and Associates Inc.
Eagle Promotions                                     Gilmore Kramer Co
Eaton Corporation                                    GitHub Inc.
eCapital Advisors LLC                                Glaze Supply Company Inc.
Elasticsearch Inc.                                   Goldstein and Lee PC
Electra Link Inc.                                    GoodHire
Electric Power Engineers Inc.                        Goodway Group Inc.
Electrical Com                                       Google LLC
Elite Electric Company LLC                           Grand Forks Utility Billing
Employer Solutions Resources LLC                     Great Sports Inc.
Engineered Fluids, Inc.                              Greatland Corporation
EPIC ASIC Asia Limited                               Green Business Certification, Inc.
Equisolve Inc                                        Greenhouse Software Inc.
ERI Economic Research Institute Inc.                 GreensLedge Capital Markets LLC
Ernest Industries Inc.                               Greyline Partners LLC
Esteban LaSalle                                      Griffin C Simerly
EvoTek                                               Guardian Life
Farm & Ranch Construction, LLC                       Gustavo Melo Belfort
Farming with Stephanie LLC                           Hamin Kang
Fastenal Company                                     Hannig Row Partnership
Federico Bohn                                        Harper Construction Company, Inc.
FedEx                                                Heapy
Felker Construction Company Inc.                     Hill and Wilkinson Construction Group Ltd
Fernando Manuel Sierra Pajuelo                       HM Tech LLC
Fidelity Investments Institutional Operations        Holland LLC
    Company LLC                                      Holloway Updike and Bellen Inc.
Financial Accounting Standards                       HubSpot Inc.
    Board/Governmental Accounting Standards          Hudson Incentives Inc.
    Board                                            Hughes Electric Paint & Supplies
FINRA                                                Human Rights Foundation
Fireblocks Inc.                                      Hurricane Electric LLC
First Insurance Funding                              Hutchins Pallet Service, Inc.
First National Capital LLC                           Hutchison and Steffen PLLC
First-Line Fire Extinguisher Company                 ICE Systems, Inc.
Flexential Colorado Corp                             ICI Mechanical LLC
FlowTx                                               ICS Inc.
ForensisGroup Inc.                                   IDC Research Inc.
Forks Landscaping LLC                                INE
Forum Communications Company                         Integrated Networking Technologies LLC
Foshan Dilue Supply Chain Mgmt. Co Ltd               Integrity Door Solutions LLC
Franchise Tax Board                                  Intralinks, Inc.
Free Transportation LLC                              Ironclad Inc.

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Jackie L Bryan                                       Microsoft Azure
Javier Lazaro Jareno                                 Mike Darling Films
JBM Office Solutions                                 Miller Griffin and Marks PSC
JCL Energy LLC                                       Mindset
Joaquin Pablo Gonzalez                               Mission Critical Facilities International, Inc.
Jobot                                                MJDII Architects Inc.
John Furner                                          MNP LLP
Jonathan Barrett 2012 Irrevocable Trust dated        Mobile Modular Portable Storage
    May 31 2012                                      Monnit Corporation
Juan Jose Galan Lopez                                Monoprice Inc.
K and E Lawn Service LLC                             M-RETS
Katz Marshall and Banks LLP                          MSC Industrial Supply Co.
Keith Larry Watkins                                  Murphy and Grantland PA
Kenco Material Handling Solutions LLC                Murtco Inc.
Kentucky Cabinet for Economic Development            Muskogee City-County Port Authority
Kesco Air Inc.                                       Mustache Creative Studio
Kilpatrick Townsend and Stockton LLP                 Nancy C Sayers
King Ford                                            Nanning Dinggao Tech Limited
Kings Road RV Park LLC                               National Association of Corp Directors
Know Agency                                          Neeraj Agrawal
KnowBe4 Inc.                                         Next Level Valet LLC
Labor Finders                                        NextLevel
Lake Effect Traffic LLC                              nference, Inc.
Lancaster Safety Consulting, Inc.                    Nicolas Carter
Landstar Ranger Inc.                                 Office of State Tax Commissioner
Lane Powell PC                                       Oklahoma Gas and Electric Company
LANshack Com                                         Oklahoma Tax Commission
Larry Ledford                                        Okta Inc.
Lenz LLC                                             Old Dominion Freight Line Inc.
Level 3 Communications LLC                           Old Republic National Title Ins. Co
LHC Capital Partners Inc.                            Omeir Cargo LLC
LHH Recruitment Solutions                            Oncor Electric Delivery Company LLC
LinkedIn Corporation                                 Onestopmining Technologies Limited
LiveView Technologies Inc.                           Onin Staffing, LLC
Lockton Insurance Brokers LLC                        OnlineComponents.com
Logistica CryptoMining Repair LLC                    Oracle Capital LLC
LRN Corporation                                      Orange Computers
Lukka Inc.                                           ORGDEV Limited
M & S Patterson, Inc.                                Overhead Door Company of Clayton/Overhead
Manley Four Little Pigs Inc.                             Door Company of Tri State
Manning Land LLC                                     Parker Lynch
Marco Technologies LLC                               Paulo Roberto Pereira de Souza Filho
Marshall County Battery and Golf Carts Inc.          Pax ADR LLC
Marshall County Tax Administrator                    Paycom Payroll LLC
McMaster-Carr                                        PeopleReady Inc.
MDSI Inc.                                            Pepsi MidAmerica
Mediant Communications Inc.                          Petter Business Systems
Megaport USA Inc.                                    Pioneer Abstract and Title Co of Muskogee Inc.
Meridian Equipment Finance LLC                       Plant Tours Communications Company
Michael Cruz                                         Platinum Platypus Inc.

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Premier Fire and Security Inc.                     Sunny Shah
Prime Mowing and Property Management LLC           Sunnyside Consulting and Holdings Inc.
Pure Water Technology of the Tri State Area        SunValley Electric Supply
    LLC                                            SuperAcme Technology Hong Kong LTD
Pye-Barker Fire and Safety LLC                     Susan Oh Communications
Q4 Inc.                                            Synopsys Inc
Quality Water Financial LLC                        Synovus Bank
Quik Print of Austin Inc.                          Tag Resources LLC
Rack and Shelving Consultants                      Tangent Energy Solutions Inc.
Radiant PPC LLC                                    Tango Lima, LP
Raymond Pope                                       Tax Executives Institute Inc.
RBI USA Customs Services LLC                       TDIndustries Inc.
RC Ventures Inc.                                   Teague Nall and Perkins Inc.
Recycling Equipment Corporation                    Technijian Inc.
Red Moon 88 LLC                                    Technology Navigators LLC
Reffett Associates                                 TechSource Global LLC
Regents Capital Corporation                        Telecom Site Solutions LLC
Reliance Telephone Systems                         Telfi LLC
Rezvani Mining LLC                                 Telles Global Consulting Inc.
Robson Forensic Inc.                               Temps Plus Inc.
Rockwell Automation Inc.                           Tenaska Power Services Co
Roman Krasiuk                                      Tenet Solutions
Ruric Inc.                                         Tennessee Valley Industrial Committee
SafetySkills LLC                                   Texas Blockchain Council
SAGE Capital Investments, LLC                      Texas Workforce Commission
Salary.com LLC                                     The Coindad LLC
Salesforce.com, Inc.                               The Crown Restaurant
Say Technologies LLC                               The MacLellan
Scott Malewig                                      The Specialty Company - TSC
Sebastian Javier Marconi                           The Treadstone Group Inc.
Sharp Business Systems                             Thomson Reuters Tax and Accounting
Sharpertek                                             checkpoint
Shermco Industries, Inc.                           Thycotic Software LLC
Silver Fox Productions Inc.                        Time Warner Cable
Silverpeak Special Situations Lending LP           Top Imprint Limited
Slack Technologies LLC                             Tor Naerheim Brand Design LLC
Smartsheet Inc.                                    Total Quality Logistics LLC
Smoky Mountain BBQ Company LLC                     Tower Direct
Solomon Corporation                                Trace3 LLC
Southeastern System Services Inc.                  TRACS Manufacturing LLC
Southern Cargo LLC                                 Tractor and Palm Inc.
Spectrum Business                                  Travis Asphalt
SpectrumVoIP Inc.                                  Triangle Enterprises, Inc.
Spotless Cleaning                                  Trilogy LLC
Stafftax Financial LLC                             TriNet COBRA
Standby Service Solutions LLC                      Trinity Risk Solutions LLC
State of Tennessee Department of Revenue           True North Data Solutions US Inc.
Stone Tower Air LLC                                TXU Energy Retail Company LLC
Summit Energy Services Inc.                        TY Properties
Summit Funding Group Inc.                          U line

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United Capital Partners                               Jobe Ranch Family Limited Partnership, Lessor
United Rentals North America Inc                          (11/15/2021)
United Rentals North America Inc.                     Kentucky Department of Revenue
University of California, San Diego                   Kentucky State Treasurer
UPS Supply Chain Solutions Inc.                       King County Assessor (Seattle, WA)
Upstate Containers LLC                                Marshall County (Kentucky) Department of
Validus Power Corp                                        Revenue
Vandco Equipment                                      Minnkota Power Cooperative
VCheck Global LLC                                     ND Office of State Tax Commissioner
Veriedge LLC                                          North Carolina Department of Revenue
Veritext LLC                                          North Dakota Department of Revenue
Vesco Toyota Lift                                     North Dakota Office of State Tax Commissioner
VMS Security Cloud Inc.                               Oklahoma Department of Revenue
Volt Management Corp                                  State of Delaware - Division of Corporations
Wachsman PR LLC                                       Tennessee Department of Revenue
Waste Disposal Solutions Inc.                         Tennessee Valley Authority - Economic
Waterlogic Americas LLC                                   Development - Thomas Buehler (Calvert
Wells and West Inc.                                       City)
WEX Health Inc.                                       Texas Comptroller / Texas Comptroller - Sales
Whitfield Electric Motor Sales & Service, Inc.            & Use Tax
Whitney J Beauxis                                     Travis County, TX (Austin, TX HQ)
Widseth Smith Nolting and Associates, Inc.            US Customs and Border Protection
Williams Farm LLC                                     Ward County Assessor (TX)
Williams Marston LLC                                  Whitfield County Board of Assessors (Dalton,
Wilson Built Fab Shop                                     GA)
Workplace Solutions Inc.
Young MFG Inc.                                        U.S. Attorney’s Office for Southern District
Zendesk Inc.                                          of Texas:
Zeus Mining Co Ltd                                    Jennifer Lowery
Zimney Foster PC
Ziply Fiber                                           UCC Search Results/UCC Lien Search
Zoom Video Communications Inc.                        Results:
ZoomInfo Technologies                                 ACM ELF ST LLC
                                                      Anchorage Lending CA, LLC
Taxing Authorities:                                   Arctos Credit, LLC
Austin, TX Lease - existing office (Worksmith)        Bank Financial
Austin, TX Lease - new office (Riversouth)            Barings BDC, Inc.
California Franchise Tax Board                        Barings Capital Investment Corporation
Cedarvale, TX                                         Barings Private Credit Corp.
Cherokee County Tax Collector (NC)                    BEAM Concrete Construction, Inc.
City of Calvert City (Calvert City, KY)               C T Corporation System, as Representative
City of Denton, TX                                    Celsius Networks Lending LLC
Colorado Department of Revenue                        CIT Bank, N.A.
Dalton-Whitfield Joint Development Authority;         CM TFS LLC
    Carl Campbell, Executive Director                 ComNet Communications, LLC
Eddie McGuire, Marshall County Sheriff                Consolidated Electrical Distributors, Inc. dba
    (Benton, KY)                                          Sun Valley Electric Supply
Georgia Department of Revenue                         Contech Construction
Internal Revenue Service                              Contech, Inc.
                                                      Convergint Technologies LLC

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Coonrod Electric Co, LLC                            Alethea Caluza
Corporation Service Company                         Alicia Barcomb
Dell Financial Services L.L.C.                      Brian Henault
Elliot Electric Supply, Inc.                        Christopher R. Travis
GARIC INC.                                          Christy Simmons
GARIC, INC.                                         Clarissa Waxton
Gaylor Electric, Inc. d/b/a Gaylor, Inc.            Glenn Otto
Graybar Electric Company Inc.                       Gwen Smith
Graybar Electric Company, Inc.                      Ha Nguyen
Housley Communications, Inc.                        Hector Duran
Huband-Mantor Construction Inc.                     Ivette Gerhard
Humphrey & Associates, Inc.                         Jana Whitworth
Humprey & Associates, Inc.                          Jayson B. Ruff
Imperial Fire Protection, LLC                       Kevin M. Epstein
Indigo Commercial Funding, LLC                      Linda Motton
LML Services dba FlowTx                             Luci Johnson-Davis
Maddox Industrial Transformer LLC                   Millie Aponte Sall
MassMutual Asset Finance LLC                        Patricia Schmidt
McCarthy Building Companies Inc.                    S. Michele Cox
McCarthy Building Companies, Inc.                   Stephen Statham
McCorvey Sheet Metal Works, LP                      Steven Whitehurst
McElroy Metal Mill, Inc. dba McElroy Metal          Valerie Goodwin
MK Marlow Company, LLC                              Yasmine Rivera
Morsco Supply LLC dba Morrison Supply
    Company                                         Utility Providers/Utility Brokers:
Network Cabling Services, Inc.                      Alpha Waste
North Mill Credit Trust                             BalsamWest Fiber Net
NYDIG ABL LLC                                       Calvert City Hall (Kentucky)
Power & Digital Infrastructure Corp.                Carolina Recycling
Priority Power                                      CenturyLink
Silverpeak Credit Partners LP, as Collateral        Charter Communications, Inc. (dba Spectrum)
    Agent                                           Cogent Communications
Stonebriar Commercial Finance LLC                   Countrywide Sanitation Co
Stonebriar Finance Holdings LLC                     Dakota Carrier Network
Summit Electric Supply                              Dalton Utilities
Sure Steel - Texas, LP                              Dellcom (Dell Telephone)
T&D Moravits & Co.                                  Denton Municipal Electric
TCF National Bank                                   Dialog Telecommunications
Texas AirSystems, LLC                               Digital Realty
Toyota Industries Commercial Finance, Inc.          Dobson Fiber
VFSOX, LLC                                          Duke Energy
Way Mechanical                                      Duke Energy Carolinas
Wesley-Thompson Hardware, Inc.                      Duke Energy Carolinas, LLC
XPDI Merger SUB, Inc.                               Frontier Communications
                                                    GlobalGig
Unions:                                             Internal/Resound Networks
N/A                                                 Level 3 Communications LLC
                                                    Logix Fiber Networks
United States Trustee and Staff for Southern        Lumen/CenturyLink
District of Texas:                                  Marble Community

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Murphy Electric Power Board
NODAK Electric Cooperative
Optilink
Regional Waste
Resound Networks
Shell Energy Solutions
Starlink
TanMar Rentals, LLC
Tennessee Valley Authority
Time Warner Cable
Windstream Communications
Xcel Energy, Inc.




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                                                Exhibit 2

                                          Disclosure Schedule

          Matched Entity                     Relationship to Debtors            Relationship to Weil

   ACM ELF ST, LLC (Atalaya)                          Lenders                  Affiliate or Subsidiary
                                                                                 of Current Client
                                          UCC Search Results/UCC Lien
                                                Search Results
          AlixPartners LLP                     Debtors Professionals               Current Client
          Amazon Business                 List of the Creditors Holding the   Related to Current Client
                                         Top 100 Largest Unsecured Claims
     Amazon Web Services Inc.
                                            List of the Top 30 Unsecured
                                                       Creditors
Apollo Centre Street Partnership, L.P.                Lenders                  Affiliate or Subsidiary
                                                                                 of Current Client
Apollo Lincoln Fixed Income Fund,
               L.P.
 Apollo Moultrie Credit Fund, L.P.
     Apollo Tactical Value SPN
         Investments, L.P.
               AT&T                       List of the Creditors Holding the   Related to Current Client
                                         Top 100 Largest Unsecured Claims

          Bank of America                         Bank Accounts                    Current Client
          Bank of the West                            Lenders                  Affiliate or Subsidiary
                                                                                 of Current Client
         Barings BDC, Inc.                            Lenders                  Affiliate or Subsidiary
                                                                                 of Current Client
     Barings Capital Investment                Notice of Appearance
            Corporation                          / Interested Party
    Barings Private Credit Corp.          UCC Search Results/UCC Lien
                                                Search Results
        Mass Mutual Barings
  MassMutual Asset Finance LLC
Massachusetts Mutual Life Insurance
            Company
 Berkshire Hathaway Specialty Ins.          Insurance/Insurance Broker/        Affiliate or Subsidiary
            Company                       Insurance Provider/Surety Bonds        of Former Client
  BlackRock Credit Alpha Master                       Lenders                  Affiliate or Subsidiary
           Fund, L.P                                                             of Current Client
       Blue Torch Capital LP             Significant Customers and Contract        Current Client
                                                   Counterparties


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         Matched Entity                   Relationship to Debtors           Relationship to Weil

       BW Holdings, LLC              Significant Customers and Contract        Current Client
                                               Counterparties
                                                                                     and
                                                                          Affiliate or Subsidiary of
                                                                                Current Client
          CAC Specialty                 Insurance/Insurance Broker/            Current Client
                                      Insurance Provider/Surety Bonds
CCP Credit Acquisitions Holdings,    Significant Customers and Contract   Affiliate or Subsidiary of
            L.L.C.                             Counterparties                   Current Client
           CenturyLink                 Significant Vendors/Suppliers           Current Client
  Level 3 Communications LLC          Utility Providers/Utility Brokers              and
       Lumen/CenturyLink                                                   Affiliate or Subsidiary
                                                                             of Current Client
 Citadel Securities Corp Solutions     Significant Vendors/Suppliers       Affiliate or Subsidiary
                                                                             of Current Client
Citibank (Administered by PayFlex)     Benefit Providers (Workers          Affiliate or Subsidiary
                                     Compensation/Pension Plans/Third        of Current Client
                                          Party Administrators)
       City National Bank                     Bank Accounts                Affiliate or Subsidiary
                                                                             of Current Client
          CoinBase, Inc.               Significant Vendors/Suppliers      Related to Current Client
          CoinDesk Inc.                           Lenders                 Affiliate or Subsidiary of
                                                                                Current Client
       DCG Foundry LLC               Significant Customers and Contract
                                               Counterparties                        and
       Foundry Digital LLC
                                       Significant Vendors/Suppliers           Former Client
     Genesis Custody Limited
   Genesis Global Capital, LLC
 Genesis Global Capital, LLC #1
    ConGlobal Industries LLC           Significant Vendors/Suppliers       Affiliate or Subsidiary
                                                                             of Current Client
       Cumulus Coin LLC              Significant Customers and Contract    Affiliate or Subsidiary
                                               Counterparties                of Current Client
De Lage Landen Financial Services,                Lenders                  Affiliate or Subsidiary
              Inc.                                                           of Former Client
  Dell Financial Services L.L.C.                  Lenders                  Affiliate or Subsidiary
                                                                             of Current Client
                                      UCC Search Results/UCC Lien
                                            Search Results                           or
                                                                          Related to Current Client

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          Matched Entity                  Relationship to Debtors             Relationship to Weil

           DigiCert Inc.                Significant Vendors/Suppliers            Current Client
        Ernst & Young LLP               Ordinary Course Professionals        Affiliate or Subsidiary
                                                                               of Former Client
 Ernst & Young Product Sales LLC
     Ernst and Young US LLP
       Evercore Group LLC               Significant Vendors/Suppliers        Affiliate or Subsidiary
                                                                               of Current Client
Faegre Drinker Biddle and Reath LLP     Ordinary Course Professionals       Related to Current Client
Farmers Group Select Home & Auto        Benefit Providers (Workers           Affiliate or Subsidiary
            Insurance                 Compensation/Pension Plans/Third         of Current Client
                                           Party Administrators)
       Ferro Investments Ltd.                      Lenders                  Related to Current Client
     Frontier Communications           Utility Providers/Utility Brokers     Affiliate or Subsidiary
                                                                               of Current Client
 Frontier Communications America       List of the Creditors Holding the
              Inc.                    Top 100 Largest Unsecured Claims
 GreensLedge Capital Markets LLC        Significant Vendors/Suppliers            Current Client
Greensledge Merchant Holdings, LLC                 Lenders                            and
                                                                             Affiliate or Subsidiary
                                                                               of Current Client
      Grubhub Holdings Inc.            List of the Creditors Holding the     Affiliate or Subsidiary
                                      Top 100 Largest Unsecured Claims         of Current Client
     ICG CoreSci Holdings, LP                      Lenders                   Affiliate or Subsidiary
                                                                               of Current Client
                INE                     Significant Vendors/Suppliers            Current Client
        Kaiser Permanente               Benefit Providers (Workers          Related to Current Client
                                      Compensation/Pension Plans/Third
                                           Party Administrators)
    Kayne Anderson BDC, LLC           Affiliation of Current Officers and        Current Client
                                           Directors (include senior
 Kayne Anderson Capital Advisors,                                                     and
                                                 management)
              L.P.
                                                                             Affiliate or Subsidiary
       Kayne Anderson Energy                                                   of Current Client
   Infrastructure Fund Inc. (KYN)
Kayne Anderson NextGen Energy &
    Infrastructure Inc. (KMF)
        Kelly Services Inc.            List of the Creditors Holding the    Related to Current Client
                                      Top 100 Largest Unsecured Claims



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          Matched Entity                     Relationship to Debtors            Relationship to Weil

Lexington Insurance Company (AIG)          Insurance/Insurance Broker/         Affiliate or Subsidiary
                                         Insurance Provider/Surety Bonds         of Current Client
 Lexington Insurance Company (via
             Amwins)
       LinkedIn Corporation               Significant Vendors/Suppliers        Affiliate or Subsidiary
                                                                                 of Current Client
  Marathon Digital Holdings, Inc.            Significant Competitors               Current Client
         Mintz Group LLC                  Ordinary Course Professionals            Current Client
     Moelis & Company, LLC                  Non-Debtor Professionals           Affiliate or Subsidiary
                                                                                 of Current Client
   National Union Fire Ins Co of           Insurance/Insurance Broker/         Affiliate or Subsidiary
         Pittsburgh (AIG)                Insurance Provider/Surety Bonds         of Current Client
 Navigators Insurance Co (Hartford)        Insurance/Insurance Broker/         Affiliate or Subsidiary
                                         Insurance Provider/Surety Bonds         of Current Client
Nomura Corporate Funding Americas,      Significant Customers and Contract     Affiliate or Subsidiary
              LLC                                 Counterparties                 of Current Client
              NYDIG                                  Lenders                   Affiliate or Subsidiary
                                                                                 of Current Client
         NYDIG ABL LLC                   UCC Search Results/UCC Lien
                                               Search Results
  NYDIG ABL LLC (f/k/a Arctos
         Credit, LLC)                         Notice of Appearance
                                                / Interested Party
        Arctos Credit, LLC
 Och Ziff Capital Management, LP        Affiliation of Current Officers and        Current Client
(n/k/a Sculptor Capital Management,          Directors (include senior
                                                                                         and
                Inc.)                              management)
                                                                               Affiliate or Subsidiary
                                                                                 of Current Client
          PJT Partners LP                     Debtors Professionals                Current Client
    QBE Insurance Corporation              Insurance/Insurance Broker/        Related to Current Client
                                         Insurance Provider/Surety Bonds
 General Casualty Co of WI (QBE)
Securitas Security Services USA, Inc.    List of the Creditors Holding the    Affiliate or Subsidiary of
                                        Top 100 Largest Unsecured Claims            Current Client
                                           List of the Top 30 Unsecured
                                                      Creditors
                                          Benefit Providers (Workers
                                        Compensation/Pension Plans/Third
                                             Party Administrators)
       Shell Energy Solutions              List of the Top 30 Unsecured       Related to Current Client
                                                      Creditors


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         Matched Entity                 Relationship to Debtors             Relationship to Weil

MP2 Energy Texas LLC d/b/a Shell     Utility Providers/Utility Brokers
       Energy Solutions
                                          Notice of Appearance
                                            / Interested Party
Stonebriar Commercial Finance LLC                   Lender                 Affiliate or Subsidiary
                                                                             of Current Client
 Stonebriar Finance Holdings LLC      UCC Search Results/UCC Lien
                                            Search Results


          Time Warner                 Significant Vendors/Suppliers       Related to Current Client
       Time Warner Cable             Utility Providers/Utility Brokers
   TPG Pace Beneficial Finance      Affiliation of Current Officers and    Affiliate or Subsidiary
      Corporation I and II               Directors (include senior           of Current Client
                                               management)
 U.S. Bank, National Association    Bondholders/Noteholders/Indenture      Affiliate or Subsidiary
                                                Trustees                     of Current Client
                                                 Lenders
                                          Notice of Appearance
                                            / Interested Party
        WEX Health Inc.               Significant Vendors/Suppliers        Affiliate or Subsidiary
                                                                             of Current Client
     ZoomInfo Technologies            Significant Vendors/Suppliers            Current Client




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                             Exhibit B

                   DuChene Retention Declaration




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                       §
In re:                                                 §        Chapter 11
                                                       §
CORE SCIENTIFIC, INC., et al.,                         §        Case No. 22-90341 (DRJ)
                                                       §
                    Debtors.1                          §        (Jointly Administered)
                                                       §

                        DECLARATION OF TODD DUCHENE
                         IN SUPPORT OF APPLICATION OF
                    DEBTORS FOR AUTHORITY TO RETAIN AND
                    EMPLOY WEIL, GOTSHAL & MANGES LLP AS
              ATTORNEYS FOR DEBTORS EFFECTIVE AS OF PETITION DATE

           Pursuant to 28 U.S.C. § 1746, I, Todd DuChene, hereby declare as follows:

                    1.       I am the President and Chief Legal Officer of Core Scientific, Inc. (“Core

Scientific,” and, collectively with its debtor affiliates in the above-captioned chapter 11 cases, as

debtors and debtors in possession, the “Debtors”). In my current role, I am responsible for, among

other things, overseeing the Debtors’ legal department and managing legal fees and expenses.

                    2.       Commencing on December 21, 2022 (the “Petition Date”), the Debtors

each filed with this Court a voluntary case under chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”). The Debtors continue to operate their business and manage their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific Acquired
    Mining LLC (N/A); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core Scientific Specialty
    Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard Capital LLC (6677);
    RADAR LLC (5106); American Property Acquisitions I, LLC (9717); and American Property Acquisitions, VII,
    LLC (3198). The Debtors’ corporate headquarters and service address is 210 Barton Springs Road, Suite 300,
    Austin, Texas 78704.
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                    3.       I submit this Declaration in support of the Debtors’ application

(the “Application”), pursuant to sections 327(a), 328(a), 329, and 504 of the Bankruptcy Code,

Rules 2014(a) and 2016(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) and Rules 2014-1 and 2016-1 of the Bankruptcy Local Rules of the United States

Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Local Rules”), for

authority to employ and retain Weil, Gotshal & Manges LLP (“Weil” or the “Firm”), as attorneys

for the Debtors in the above-captioned chapter 11 cases effective as of the Petition Date.2

                    4.       This Declaration is provided pursuant to Appendix B, Paragraph D.2 of the

U.S. Trustee Guidelines for Reviewing Applications for Compensation and Reimbursement of

Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective

November 1, 2013 (the “Fee Guidelines”). Except as otherwise indicated herein, the facts set

forth in this Declaration are based upon my personal knowledge, information provided to me by

the Debtors’ advisors, or my opinion based upon knowledge and experience as President and Chief

Legal Officer of Core Scientific. I am authorized to submit this Declaration on behalf of the

Debtors.

                    5.       The Debtors recognize that a comprehensive review process is necessary

when selecting and managing chapter 11 counsel to ensure that their bankruptcy professionals are

subject to the same client-driven market forces, security, and accountability as professionals in

non-bankruptcy engagements. The Debtors chose Weil based upon Weil’s prior experience with

the Debtors, its reputation and experience in the restructuring field generally, and upon the

Debtors’ particular circumstances. Since 2018, Weil has represented the Debtors with respect to




2
    Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
    in the Application.



                                                           2
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various matters, including certain transactional and litigation matters. Beginning in October 2022,

Weil has represented the Debtors with respect to their ongoing litigation with Celsius in the Celsius

chapter 11 cases. At around the same time, Weil began advising the Debtors in connection with

their evaluation and execution of certain strategic initiatives to help preserve and maximize the

Company’s enterprise value. As a result of its prepetition engagement, Weil possesses an in-depth

knowledge of the Debtors’ capital structure and has gained additional insight into the current

condition of the Debtors’ industry, business, and operations. Specifically, Weil was extensively

involved in (i) prepetition negotiations with the Debtors’ key economic stakeholders (including

the Debtors’ restructuring efforts as discussed in greater detail in the First Day Declaration), (ii)

analyzing strategic alternatives with respect to the Debtors’ capital structure and restructuring, (iii)

negotiating and executing the RSA with the Ad Hoc Noteholder Group, (iv) securing a $75 million

DIP Facility, and (v) the preparation and commencement of these chapter 11 cases. Accordingly,

the Debtors believe Weil is uniquely situated with the necessary background to address the

potential legal issues that may arise in the context of the Debtors’ chapter 11 cases.

               6.       As the President and Chief Legal Officer at Core Scientific, I am familiar

with the terms of Weil’s engagement. Weil has confirmed to me that the Firm does not vary its

billing rates or the material terms of an engagement depending on whether such engagement is a

bankruptcy or a non-bankruptcy engagement. Weil has advised me that its current customary U.S.

hourly rates are $1,375.00 to $2,095.00 for partners and counsel, $750.00 to $1,345.00 for

associates, and $295.00 to $530.00 for paraprofessionals. It is my understanding that Weil reviews

and adjusts its billing rates annually. Weil has advised me that it will inform the Debtors of any

adjustment to its existing rate structure.




                                                   3
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               7.       I am informed by Weil that its attorneys’ billing rates are aligned each year

to ensure that its rates are comparable to the billing rates of its peer firms. To the extent that there

is any disparity in such rates, however, I nevertheless believe that Weil’s retention by the Debtors

is warranted in these cases for the reasons set forth in the Application.

               8.       I understand that Weil’s fees and expenses will be subject to periodic review

during the pendency of these chapter 11 cases by, among other parties, the Office of the U.S.

Trustee and the Debtors, in accordance with the terms of the Bankruptcy Code, the Bankruptcy

Rules, the Bankruptcy Local Rules, and any orders of the Court governing the procedures for

approval of interim compensation of professionals retained in chapter 11 cases.

               9.       As the President and Chief Legal Officer of Core Scientific, I supervise and

manage legal fees and expenses incurred by the Debtors’ outside counsel. Either I or the Debtors’

other in-house counsel reviews the Debtors’ outside counsel invoices and authorizes all legal fees

and expenses prior to the payment of such fees to outside counsel. In so doing, we assure that all

requested fees and expenses are reasonable and correspond with necessary or beneficial services

rendered on behalf of the Debtors and their estates. The aforementioned review and approval

process does not differ when the Debtors employ outside counsel for non-bankruptcy matters.

Moreover, Weil has informed me that the Debtors will be provided with the opportunity to review

all invoices and request adjustments to such invoices to the extent that the Debtors determine that

such adjustments are necessary and appropriate, which requests will be carefully considered by

Weil.

               10.      I will continue to review the invoices that the Debtors submit and, together

with Weil, amend such invoices as necessary.

               I declare under penalty of perjury that the foregoing is true and correct.




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Dated: January 15, 2023
Austin, Texas


                                    By:     /s/ Todd DuChene
                                          Todd DuChene
                                          President and Chief Legal Officer
                                          Core Scientific, Inc.




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